       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. John Carlos Bardales
        v. Commonwealth of Virginia
        Record No. 0455-19-4
        Opinion rendered by Judge Beales on
        April 7, 2020

    2. Kumar Sangaran
       v. Shabnam Sachdeva
       Record No. 1898-19-4
       Opinion rendered by Judge AtLee on
        June 23, 2020

    3. William Howard Robinson
       v. Commonwealth of Virginia
       Record No. 0154-19-4
       Opinion rendered by Judge Humphreys on
        July 7, 2020

    4. Quartrez Logan, s/k/a
        Quartrez Rashad Logan
       v. Commonwealth of Virginia
       Record No. 1735-18-1
       Rehearing En Banc Opinion rendered by Judge Humphreys on
        July 21,2020
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Jesus Davila Bailey, III
    v. Commonwealth of Virginia
   Record No. 0613-18-3
    Opinion rendered by Judge Russell
     on July 30, 2019
    Refused (191248)

2. Larry Dornell Palmer
   v. Commonwealth of Virginia
   Record No. 1294-18-1
   Opinion rendered by Judge Beales
    on November 26, 2019
   Refused (191714)

3. Linda Kaye Nelson, s/k/a
    Linda Lay Nelson, s/k/a
     Linda Kay Nelson
   v. Commonwealth of Virginia
   Record No. 0242-19-3
   Opinion rendered by Judge Petty
     on January 7, 2020
   Refused (200203)
